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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS

COMMODITY FUTURES TRADING COMMISSION,                        )
                                                             )
                       Plaintiff,                            )
                                                             )
                               v.                            ) Civil Action No. 4:19-cv-02901
                                                             ) Hon. Sim Lake, Presiding
EOX HOLDINGS LLC and ANDREW GIZIENSKI,                       )
                                                             )
                       Defendants.                           )

               DEFENDANTS’ UNOPPOSED MOTION TO SEAL EXHIBIT

       Defendants EOX Holdings LLC and Andrew Gizienski respectfully move the Court to seal

Plaintiff’s Trial Exhibit 102 (ECF 273-40; ROA.11238-43) which contains personally identifiable

information of Defendant-Appellant Andrew Gizienski.

       Undersigned counsel has just discovered that Plaintiff did not file that document under seal

in the District Court, and requests that be corrected by sealing that Exhibit now.

       Pursuant to the information from the Court of Appeals’ Deputy Clerk, Defendants-

Appellants are filing an identical motion in the Court of Appeals.

       Counsel for Plaintiff Commodity Futures Trading Commission has authorized undersigned

to represent that Plaintiff does not oppose this Motion.

       WHEREFORE, Defendants-Appellants ask the Court to seal Plaintiff’s Trial Exhibit 102

(ECF 273-40; ROA.11238-43).

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Date: January 18, 2023             Respectfully submitted,

                                    s/ Constantine John Gekas
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                                   Counsel for Defendants




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                                 CERTIFICATE OF SERVICE

       I certify that on January 18, 2023, I electronically filed the foregoing document using

the Court’s CM/ECF system, which will automatically send notifications of such filing to

the following:


                 Candice Haan (chaan@cftc.gov)
                 Joseph Konizeski (jkonizeski@cftc.gov)
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                                                 /s/ Constantine John Gekas




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